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                    EXHIBIT B




245350438v.1
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                                                                                                                                    B1541-8657 02/28/2023 3:53 PM Received by California Secretary of State
                                                                                                              BA20230347384

                         STATE OF CALIFORNIA                                                          For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                      -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                        File No.: BA20230347384
                         1500 11th Street                                                     Date Filed: 2/28/2023
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                             WAYMO LLC
  Entity No.                                                 201704810253
  Formed In                                                  DELAWARE
Street Address of Principal Office of LLC
  Principal Address                                          1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
Mailing Address of LLC
  Mailing Address                                            1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
  Attention
Street Address of California Office of LLC
  Street Address of California Office                        1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
Manager(s) or Member(s)

                           Manager or Member Name                               Manager or Member Address

   Waymo Holdings Inc.                                       1600 Amphitheatre Parkway
                                                             Mountain View, CA 94043


Agent for Service of Process
  California Registered Corporate Agent (1505)               CSC - LAWYERS INCORPORATING SERVICE
                                                             Registered Corporate 1505 Agent
Type of Business
  Type of Business                                           SELF-DRIVING TECHNOLOGY
Email Notifications
  Opt-in Email Notifications                                 Yes, I opt-in to receive entity notifications via email.
Chief Executive Officer (CEO)

                                   CEO Name                                            CEO Address

   Tekedra Mawakana                                          1600 Amphitheatre Parkway
                                                             Mountain View, CA 94043


Labor Judgment
  No Manager or Member, as further defined by California Corporations Code section 17702.09(a)(8), has an
  outstanding final judgment issued by the Division of Labor Standards Enforcement or a court of law, for which no
  appeal is pending, for the violation of any wage order or provision of the Labor Code.




                                                                                                                            Page 1 of 2
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                                                                                                                                           B1541-8658 02/28/2023 3:53 PM Received by California Secretary of State
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Kevin Vosen                                                        02/28/2023
  Signature                                                          Date




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